 

Case 802 CO145-GLT Pore. Blade EG rae HOUR AY ee
CENTRAL DISTRICT OF CALIFORNIA
CRIMINAL MINUTES - SENTENCING AND JUDGMENT

 

 

 

 

 

 

 

Case No._SACR 02-145-GLT Date December_1& 2002
Hon. GARY.L_ TAYLOR Ihidge
Lisa Bredahl Debbie Gale Robb Adkins
Deputy Clerk Court Reporter Asst U.S. Attorney

Tohn Vandevelde

Defendant RTND Counsel Interpreter

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PROCEEDINGS: SENTENCING AND JUDGMENT

 

 

Refer to Judgment and Probation/Commitment Order; signed copy attached hereto.
See below for sentence.

 

 

 

Imprisonment for_tcwm_________ months. on each of counts 1 of the Indictment
Count(s) concurrent/consecutive to count(s)
Fine of $ is imposed on each of count(s) __________Concurrrent/Consecutive

 

O Execution / Imposition of sentence as to imprisonment only suspended on count(s)
Confined in jail-type institution for__t____ to be served on consecutive days/weekends commencing

—__3.____years Probation imposed on count | of the Indictment _—consecutive/concurrent to count(s)

under the usual terms & conditions (see Judgment/Commitment Order) and the
following additional terms and conditions, under the direction of the Probation Office:

Perform hours of community service.

Serve ina CCC/CTC.

Pay $20,000 fine plus interest within 60 days following sentencing

Make $136,000 __ restitution in amounts & times determined by P/O to be paid in full no later than 60 days
following sentencing.

Participate in a program for treatment of narcotic/alcohol addiction—suspended; low risk.

Pay any fine imposed by this sentence & that remains unpaid at commencement of community supervision.
Comply with rules/regulations of INS, if deported not return to U.S.A. illegally and upon any reentry during
period of supervision report to the nearest P/O within 72 hours.

OTHER CONDITIONS: :
monitoring: pay costs. Not be employed in any position that requires licensing and/or certification without prior
written approval of PO.

Pursuant to Section 5E1.2(e), all fines are waived, including costs of imprisonment & supervision. The Court
FINDS the defendant does not have the ability to pay.

Pay $_1GO _, per count, special assessment to the United States for a total of S_LOO. _

Imprisonment for _____months/years and for a study pursuant to 18 USC —______uwith results to be furnishec
to the Court within_____ days/months whereupon the sentence shall be subject to modification, This matter is set for
further hearing on

 

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x Government's motion, all remaining count(s)/underlying indictment/information, ordered dismissed.
x Defendant informed of right to appeal.
LJ ORDER sentencing transcript for Sentencing Commission. L] Processed statement of reasons.
C] Bond exonerated upon surrender L) upon service of
L] Execution of sentence is stayed until 12 noon, at which time the defendant shall surrender
to the designated facility of the Bureau of Prisons, or, if no designation made, to the U.S. Marshal.
oO Defendant ordered remanded to/released from ¢USTO ; “CRI my ps
' 1. S& [SA
CL] Issued Remand/Release # ENTER ON fe Ske OD enti
DO Present bond to continue_as bond on appeal. OShn | SA
[1] Filed and distributed judgment. Issd JS-3. ENTERHD. DEC 2 3 2002 |
Deputy Clerk Initials yr)
CR 90 (6/00) CRIMINAL MINUTES - § “ee

 

 
